   Case: 1:18-cv-06785 Document #: 197 Filed: 02/19/19 Page 1 of 4 PageID #:1437



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




  IN RE:                                                MDL No. 2867
                                                        No. 18 C 6785
  LOCAL TV ADVERTISING ANTITRUST
  LITIGATION                                            Honorable Virginia M. Kendall

  This Document Relates to All Actions


                                   JOINT STATUS REPORT

        The Parties to this litigation respectfully submit this Joint Status Report in advance of the

February 22, 2019 status hearing. The Parties will be prepared to discuss the following items:

        Proposed Case Schedule: The Parties are currently negotiating a proposed case schedule.

If agreement cannot be reached, the Parties will submit competing versions of a schedule by

Wednesday, February 20, 2019 at 5:00 p.m. Central Time.

        Plaintiffs’ Motion for Production of DOJ Documents: Plaintiffs’ Motion for Production of

Documents Previously Produced to Department of Justice (“DOJ”) was filed on February 11, 2019

(ECF No. 187) (“Motion for Production”). In accordance with the Notice of Motion filed on

February 13, 2019 (ECF No. 189), the Motion for Production is scheduled for presentment on

February 22, 2019, the date of the Status Hearing. In short, the Parties disagree as to whether

Defendants should produce documents, prior to Plaintiffs’ forthcoming amended complaint, which

were previously produced to the Antitrust Division of the DOJ.

        The Parties look forward to discussing the above items with the Court at the status hearing.

The Parties are, of course, available to discuss any additional issues into which the Court may wish

to inquire.
   Case: 1:18-cv-06785 Document #: 197 Filed: 02/19/19 Page 2 of 4 PageID #:1438



Dated: February 19, 2019                  Respectfully submitted,

 /s/ Megan E. Jones                        /s/ Jay Cohen (with permission)
 HAUSFELD LLP                             PAUL, WEISS, RIFKIND, WHARTON &
 Megan E. Jones                           GARRISON LLP
 600 Montgomery St., #3200                Jay Cohen (admitted pro hac vice)
 San Francisco, CA 94111                  William Michael (admitted pro hac vice)
 (415) 633-1908                           Daniel H. Levi (admitted pro hac vice)
 mjones@hausfeld.com                      1285 Avenue of the Americas
                                          New York, New York 10019-6064
 Lead Counsel                             (212) 373-3000
                                          jaycohen@paulweiss.com
 /s/ Hollis Salzman                       wmichael@paulweiss.com
 ROBINS KAPLAN LLP                        dlevi@paulweiss.com
 Hollis Salzman
 399 Park Avenue, Suite 3600              Gerald P. Meyer
 New York, New York                       MOLOLAMKEN LLP
 (415) 633-1908                           300 N. LaSalle St.
                                          Chicago, IL 60654
 mjones@hausfeld.com                      (312) 450-6700
                                          gmeyer@mololamken.com
 Plaintiffs’ Steering Committee
                                          Counsel for Defendants Tribune Media
 /s/ Kimberly A. Justice                  Company and Tribune Broadcasting
 KESSLER TOPAZ MELTZER &                  Company, LLC
 CHECK, LLP
 Kimberly A. Justice                      /s/ Ross B. Bricker (with permission)
 280 King of Prussia Road                 JENNER & BLOCK LLP
 Radnor, PA 19087                         Ross B. Bricker
 (610) 667-7706                           Rachel S. Morse
 kjustice@ktmc.com                        Andrew Merrick
                                          353 N. Clark St.
 Plaintiffs’ Steering Committee           Chicago, IL 60654
                                          (312) 222-9350
 /s/ Robert J. Wozniak                    rbricker@jenner.com
 FREED KANNER LONDON                      rmorse@jenner.com
   & MILLEN LLC                           amerrick@jenner.com
 Steven A. Kanner
 Douglas A. Millen                        Counsel for Defendant TEGNA Inc.
 Robert J. Wozniak
 201 Waukegan Road, Suite 130             /s/ Jerome S. Fortinsky (with permission)
 Bannockburn, IL 60015                    SHEARMAN & STERLING LLP
  (224) 632-4500                          Jerome S. Fortinsky (admitted pro hac vice)
 skanner@fklmlaw.com
                                          599 Lexington Avenue
 dmillen@fklmlaw.com
                                          New York, New York 10022-6069
 rwozniak@fklmlaw.com
                                          (212) 848-4000
                                          jfortinsky@shearman.com
 Liaison Counsel
                                            2
 Case: 1:18-cv-06785 Document #: 197 Filed: 02/19/19 Page 3 of 4 PageID #:1439




Stephanie A. Scharf                     Brian Hauser
SCHARF BANKS MARMOR LLC                 401 9th Street, N.W.
333 West Wacker Drive, Suite 450        Suite 800
Chicago, IL 60606                       Washington, DC 20004-2128
(312) 726-6000                          (202) 508-8000
sscharf@scharfbanks.com                 brian.hauser@shearman.com

                                        /s/ Gregory J. Scandaglia (with permission)
                                        SCANDAGLIA RYAN LLP
                                        Gregory J. Scandaglia
                                        55 E. Monroe Street, Suite 3440
                                        Chicago, IL 60603
                                        (312) 580-2020
                                        gscandaglia@scandagliaryan.com

                                        Counsel for Defendant Sinclair Broadcast
                                        Group, Inc

                                        /s/ Evan R. Chesler (with permission)
                                        A member of the firm
                                        CRAVATH SWAINE & MOORE LLP
                                        Evan R. Chesler (admitted pro hac vice)
                                        Julie A. North (admitted pro hac vice)
                                        Worldwide Plaza
                                        825 Eighth Avenue
                                        New York, NY 10019
                                        (212) 474-1000
                                        echesler@cravath.com
                                        jnorth@cravath.com

                                        Eva M. Saketkoo (admitted pro hac vice)
                                        HEARST CORPORATION
                                        300 West 57 Street, 40th Floor
                                        New York, NY 10019
                                        (212) 841-7000
                                        esaketkoo@hearst.com

                                        Natalie J. Spears
                                        DENTONS US LLP
                                        233 South Wacker Drive, Suite 5900
                                        Chicago, IL 60606
                                        (212) 649-2046
                                        natalie.spears@dentons.com

                                        Counsel for Defendant Hearst Television Inc.

                                        /s/ Eliot A. Adelson (with permission)
                                        KIRKLAND & ELLIS LLP

                                          3
Case: 1:18-cv-06785 Document #: 197 Filed: 02/19/19 Page 4 of 4 PageID #:1440



                                       Eliot A. Adelson (admitted pro hac vice)
                                       555 California Street, 29th Floor
                                       San Francisco, CA 94104
                                       (415) 439-1400
                                       eliot.adelson@kirkland.com

                                       James H. Mutchnik
                                       300 North LaSalle
                                       Chicago, IL 60654
                                       (312) 862-2000
                                       james.mutchnik@kirkland.com

                                       Counsel for Defendant Nexstar Media Group, Inc.

                                        /s/ Mazda K. Antia (with permission)
                                       COOLEY LLP
                                       Mazda K. Antia (admitted pro hac vice)
                                       4401 Eastgate Mall
                                       San Diego, CA 92121
                                       (858) 550-6400
                                       mantia@cooley.com

                                       John C. Dwyer (admitted pro hac vice)
                                       3175 Hanover Street
                                       Palo Alto, CA 94304-1130
                                       (650) 843-5228
                                       dwyerjc@cooley.com

                                       Beatriz Mejia (admitted pro hac vice)
                                       101 California Street, 5th Floor
                                       San Francisco, CA 94111-5800
                                       (415) 693-2145
                                       mejiab@cooley.com

                                       Counsel for Defendant Gray Television, Inc.




                                         4
